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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                          No. 15-cr-165 (JRT/LIB) (16)

               Plaintiff,

v.                                                 REPORT AND RECOMMENDATION

William James Fasthorse,

               Defendant.


        This matter came before the undersigned United States Magistrate Judge pursuant to a

general assignment, made in accordance with the provisions of Title 28 U.S.C. § 636(b)(1)(A),

upon the Defendant’s Motion to Suppress Contents of Intercepted Wire or Oral Communications

Derived Therefrom, [Docket No. 510], and upon Defendant’s Motion for Severance, [Docket

No. 516].

        On October 8, 2015, Defendant, through counsel, submitted a Letter, [Docket No. 865],

indicating his intent to submit all of his motions, including his Motion to Suppress Contents of

Intercepted Wire or Oral Communications Derived Therefrom, [Docket No. 510], and Motion

for Severance, [Docket No. 516], on the written submissions of the parties. On October 19,

2015, the Court took the Defendant’s motions under advisement on the parties’ written

submissions.

        For the reasons discussed below, the Court recommends DENYING Defendant’s Motion

to Suppress Contents of Intercepted Wire or Oral Communications Derived Therefrom, [Docket

No. 510], and, also recommends DENYING Defendant’s Motion for Severance, [Docket No.

516].




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   I.       BACKGROUND AND STATEMENT OF FACTS

        The Government alleges that between April 2014, and April 2015, “the defendants,

conspiring with and aiding and abetting one another and other persons known and unknown to

the grand jury participated in various roles and ways to procure, transport, and distribute

controlled substances including heroin, methamphetamine, oxycodone, hydromorphone,

hydrocodone, and methadone to the communities in and surrounding the Red Lake Indian

Reservation, the White Earth Indian Reservation, and Native American communities elsewhere.”

(Indictment, [Docket No. 1], at ¶ 1). The controlled substances were procured and transported

from Detroit, Michigan; Chicago, Illinois; and Minneapolis, Minnesota, among other locations.

(Id. at ¶ 2). The Indictment charges a total of forty-one (41) defendants as violating “Title 21,

United States Code, Section 841(a)(1).” (Id. at ¶ 12, Count I).

         Regarding the present Defendant, the Indictment alleges that Defendant, along with other

co-defendants, “did, among other things, facilitate, supervise, manage, transport, maintain

residences, receive and transfer funds, and distribute controlled substances during the course of

the conspiracy.” (Id. at ¶ 11). The Indictment also alleges that Defendant’s conduct as a member

of the “narcotics conspiracy charged in Count 1, which includes the reasonably foreseeable

conduct of other members of the narcotics conspiracy charged in Count 1, involved quantities of

mixtures and substances containing detectable amounts of heroin, methamphetamine, oxycodone,

hydromorphone, hydrocodone, and methadone, in violation of Title 21, United States Code, Section

841(b)(1)(C).” (Indictment, [Docket No. 1], at ¶ 18).

        On March 2, 2015, an Assistant United States Attorney submitted an application for the

interception of electronic and wire communications to and from a telephone registered to

Defendant Calvin NMN Beasley and used by Defendant Omar Beasley. (Govt.’s Ex. 7, 1-13).

On that same date, the Honorable John R. Tunheim, Chief United States District Judge for the

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District of Minnesota, issued an Order authorizing the interception of electronic and wire

communications associated with that telephone. (Id. at 90-99). On March 17, 2015, the Assistant

United States Attorney filed a final report regarding the electronic surveillance authorized by the

March 2, 2015, Order. (Id. at 112-119). Nothing in the application, affidavit in support thereof,

or the final report indicates that Defendant’s telephone or any conversation Defendant took part

in was subject to electronic surveillance. (See, gen., Id.).

          On March 26, 2015, another Assistant United States Attorney submitted a second

application for the interception of electronic and wire communications to and from a telephone

used by Defendant Omar Beasley. (Govt.’s Ex. 8, 1-12). On that same date, the Honorable Joan

N. Ericksen, United States District Judge for the District of Minnesota, issued a second Order

authorizing the interception of electronic and wire communications associated with that

telephone. (Id. at 107-117). On April 10, 2015, the Assistant United States Attorney filed a final

report regarding the electronic surveillance authorized by the March 26, 2015, Order. (Id. at 129-

133). Nothing in the application, affidavit in support thereof, or the final report indicated that

Defendant’s telephone or any conversation Defendant took part in was subject to electronic

surveillance. (See, gen., Id.).

    II.      DEFENDANT’S MOTION TO SUPPRESS CONTENTS OF INTERCEPTED
             WIRE OR ORAL COMMUNICATIONS DERIVED THEREFROM,
             [DOCKET NO. 510]

          Defendant moves the Court for an order suppressing the contents of any intercepted wire

or oral communication or any evidence derived from the intercepted communications. (Def.’s

Motion to Suppress Contents of Intercepted Wire or Oral Communications Derived Therefrom,

[Docket No. 510).




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       In pertinent part, 18 U.S.C. § 2518(10)(a), confers standing to seek suppression of

evidence obtained by unlawful electronic surveillance upon “[a]ny aggrieved person in any trial,

hearing, or proceeding in or before any court, department, officer, agency, regulatory body, or

other authority of the United States, a State, or a political subdivision thereof[.]” Courts have

interpreted the term “aggrieved person,” as used in 18 U.S.C. § 2518(10)(a), in accord with

Fourth Amendment caselaw to mean a person having a reasonable expectation of privacy in the

intercepted communication, device, or location subject to the challenged surveillance. See, e.g.,

United States v. Gonzalez, Inc., 412 F.3d 1102, 1116 (9th Cir. 2005) amended on denial of reh'g,

437 F.3d 854 (9th Cir. 2006) (requiring reasonable expectation of privacy in premises and phone

subject to surveillance to have standing to move to suppress evidence gathered from the

surveillance); United States v. Ruggiero, 928 F.2d 1289, 1303 (2d Cir. 1991) (same); accord

United States v. Civella, 648 F.2d 1167, 1171 (8th Cir. 1981) (holding that a defendant may

challenge evidence gathered as the result of electronic surveillance only if the defendant shows

that the order authorizing the surveillance was directed at the defendant, the surveillance

intercepted the defendant’s own communications, or that the surveillance occurred at least partly

on the defendant’s premises).

       Defendant has not offered any facts whatsoever that indicate that the order authorizing

the electronic surveillance in the present case was directed at him, his telephone or residence, or

that any conversation in which he took part was intercepted. Accordingly, Defendant has failed

to demonstrate that he is an “aggrieved person” for the purposes of 18 U.S.C. § 2518(10)(a), and,

as such, does not have standing to move to suppress evidence obtained by electronic surveillance

in the present case. See, e.g., Civella, 648 F.2d 1171.




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       Even assuming solely for the sake of argument that Defendant had demonstrated that he

possessed standing to move for suppression of electronic evidence in the present case, Defendant

has offered only boiler plate assertions unsupported by any specific facts or legal argument that

the Court should suppress evidence obtained by electronic surveillance in this case.

        “In motions to suppress evidence, a moving party must specify the statement or evidence

which is sought to be suppressed, and articulate with clarity the factual and legal basis upon

which each is sought to be suppressed.” United States v. Quiroz, 57 F. Supp. 2d 805, 822 (D.

Minn. 1999), aff’d sub nom United States v. Vasquez, 213 F.3d 425 (8th Cir. 2000). Where a

defendant “alleges only the barest allegation of taint, . . . [s]uch allegations are not sufficient to

require a[n evidentiary] hearing.” United States v. Losing, 539 F.2d 1174, 1179 (8th Cir. 1976).

In addition, in light of Defendant’s failure to advise the Court of any specific factual or legal

grounds whatsoever that would support his motion to suppress evidence, the Court may

recommend denying his Motion “on that basis alone.” United States v. Jones, Crim. No. 09-

260(1) (DWF/RLE), 2009 WL 4723341, at *4 (D. Minn. Oct. 30, 2009) (Erickson, C.M.J.)

(citing United States v. Mims, 812 F.2d 1068, 1074 (8th Cir. 1987); and Quiroz, 57 F. Supp. 2d

at 822–23 (“boilerplate motion” to suppress statements denied due to failure to satisfy specificity

requirement)).

       Because Defendant has not demonstrated that he has standing to move to suppress any

evidence obtained by electronic surveillance in this case and has provided no specific factual or

legal grounds whatsoever as to why this Court should suppress evidence obtained by electronic

surveillance, the Court recommends DENYING Defendant’s Motion to Suppress Contents of

Intercepted Wire or Oral Communications Derived Therefrom, [Docket No. 510].




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   III.      DEFENDANT’S MOTION FOR SEVERANCE, [DOCKET NO. 516]

          Defendant moves the Court for an order, pursuant to Federal Rule of Criminal Procedure

14, severing his case from those of all of the other defendants in the present case. (Def.’s Motion

for Severance, [Docket No. 516]).

          A. Standard of Review

          An indictment may charge two or more defendants “if they are alleged to have

participated in the same act or transaction, or in the same series of acts or transactions,

constituting an offense or offenses.” Fed. R. Crim. P. 8(b). “For proper joinder under this

provision, it is not necessary that every defendant have participated in or be charged with each

offense.” United States v. Warfield, 97 F.3d 1014, 1019 (8th Cir. 1996) (internal quotation and

citation omitted). “[R]arely, if ever, will it be improper for co-conspirators to be tried together.”

Id. (citing United States v. Jackson, 64 F.3d 1213, 1217 (8th Cir. 1995)).

          The Federal Rules of Criminal Procedure also provide that if joinder creates prejudice to

either the Government or a defendant, the Court may sever a trial “or provide any other relief

that justice requires.” Fed. R. Crim. P. 14(a). However, “[i]f, under Rule 8, joinder is proper,

then the defendant seeking severance has a ‘heavy burden’ in demonstrating that a joint trial will

impermissibly infringe his right to a fair trial.” United States v. Hopkins, No. 11–230

(DWF/SER), 2011 U.S. Dist. LEXIS 127071, at *25–26 (D. Minn. Oct. 5, 2011) (citing

Warfield, 97 F.3d at 1019). “There is a preference in the federal system for joint trials of

defendants who are indicted together.” Zafiro v. United States, 506 U.S. 534, 537 (1993); see

also United States v. Clay, 579 F.3d 919, 927 (8th Cir. 2009). “Joint trials play a vital role in the

criminal justice system,” because they achieve certain efficiencies, and because they “avoid[ ]




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the scandal and inequity of inconsistent verdicts.” Richardson v. Marsh, 481 U.S. 200, 209–10

(1987). “Only in an unusual case will the prejudice resulting from a joint trial be substantial

enough to outweigh the general efficiency of joinder.” Clay, 579 F.3d at 927 (citing United

States v. Al–Esawi, 560 F.3d 888, 891 (8th Cir. 2009)). “The risk of prejudice posed by joint

trials is best cured by careful and thorough jury instructions.” United States v. Mickelson, 378

F.3d 810, 818 (8th Cir. 2004).

       B. Analysis

       Defendant’s Motion for Severance, [Docket No. 516], is conclusory and articulates no

specific facts demonstrating either (1) that joinder of the defendants was improper under Rule

8(b), or (2) that continued joinder will create prejudice sufficient to warrant severance pursuant

to Rule 14.

       In fact, Defendant merely asks the Court to sever his trial pursuant to Rule 14 and Bruton

v. United States, 391 U.S. 123 (1968), without offering any facts or legal argument to support his

request. (See Def.’s Motion for Severance, [Docket No. 516]).

       Defendant’s motion as submitted on the present record is insufficient to sustain his heavy

burden to demonstrate that severance is warranted. The Court could summarily recommend

denying Defendant’s motion on this basis alone. However, in an abundance of caution, the Court

notes that in addition to the fact that Defendant has failed to sustain his burden, the underlying

alleged facts relevant to the present case indicate that joinder was indeed proper under Rule 8(b)

and that severance pursuant to Rule 14 is not warranted on the present record.

       The underlying alleged facts articulated in support of the Indictment indicate that the

Defendants participated in the same series of acts or transactions constituting the charged

offenses. See Fed. R. Civ. P. 8(b). The facts as set forth in the Indictment indicate that the



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defendants acting together conspired with others to possess, with intent to distribute, controlled

substances including heroin, methamphetamine, oxycodone, hydromorphone, hydrocodone, and

methadone. (Indictment, [Docket No. 1]). Accordingly, under Rule 8(b), joinder of the

Defendants was proper where “they are alleged to have participated in the same act or

transaction, or in the same series of acts or transactions, constituting an offense or offenses[,]”

and it is not necessary that each Defendant have participated in each offense. Warfield, 97 F.3d

at 1019 (citing Fed. R. Crim. P. 8). The facts set forth in the Indictment in the present case

indicate that Defendant, along with other co-defendants and alleged co-conspirators, “did, among

other things, facilitate, supervise, manage, transport, maintain residences, receive and transfer

funds, and distribute controlled substances during the course of the conspiracy.” (Indictment,

[Docket No. 1], at ¶ 11).

       Because joinder of the Defendants was proper under Rule 8(b), Defendant necessarily

bears the heavy burden of demonstrating that a joint trial will impermissibly infringe on his right

to a fair trial. Nothing in the record presently before the Court indicates that Defendant stands to

incur any specific prejudice attributable to joinder of the Defendants that would be sufficient to

warrant severance.

       Defendant’s singular citation to Bruton, 391 U.S. 123, is similarly insufficient to show

Defendant will incur any specific prejudice attributable to joinder of the Defendants that would

be sufficient to warrant severance. Defendant does not even assert that evidence admitted

against other co-defendants will prejudice him or offer any argument that such prejudice can

only be cured by severance pursuant to Bruton.

       In Bruton, the petitioner and a co-defendant had been convicted of armed robbery in a

joint trial after a postal inspector testified that Bruton’s codefendant had confessed and had



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“expressly implicat[ed]” the petitioner. Bruton, 391 U.S. at 124 n. 1. The trial court instructed

the jury that the co-defendant’s confession “if used, can only be used against the [co-defendant].

It is hearsay insofar as the [petitioner] is concerned, and you are not to consider it in any respect

to the [petitioner], because insofar as he is concerned it is hearsay.” Id. at 125 n. 2. The Supreme

Court, however, concluded that:

       [T]he introduction of [the co-defendant’s] confession posed a substantial threat to
       the petitioner’s right to confront the witnesses against him, and this is a hazard we
       cannot ignore. Despite the concededly clear instructions to the jury to disregard
       [the co-defendant’s] inadmissible hearsay evidence inculpating petitioner, in the
       context of a joint trial we cannot accept limiting instructions as an adequate
       substitute for petitioner’s constitutional right of cross-examination. The effect is
       the same as if there had been no instruction at all.

Id. at 137. For that reason, the Supreme Court reversed the petitioner’s conviction in Bruton. Id.

at 126, 137.

       However, even the Bruton court suggested that redaction from co-conspirator testimony

may be sufficient to cure any prejudice caused by the introduction of a co-defendant’s

incrimination statement, and acknowledged that “[n]ot every admission of inadmissible hearsay

or other evidence can be considered to be reversible error unavoidable through limiting

instructions.” Id. at 134 n. 10, 135. In Richardson v. Marsh, 481 U.S. 200 (1987), the Supreme

Court further distinguished between co-defendant statements that are “facially incriminating,”

and statements which merely are “incriminating by connection.” Id. at 209. When a co-

defendant’s statement is facially incriminating of the defendant, redaction or even severance may

be required because it is more difficult for jurors to set aside such evidence. Id. at 208. However,

the Court rejected the suggestion that the rule in Bruton extend to confessions that are

incriminating by connection as both impractical and unnecessary. Id. at 208–09.




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         In the present case, Defendant has not supported his motion by identifying any specific

incriminating co-defendant statements that he believes would, if introduced at trial, prejudice

him. Moreover, Defendant has not articulated any specific reason why the jury would be unable

to compartmentalize any redacted statements or evidence upon being given proper instruction by

the Trial Judge to do so. (See, gen., Def.’s Motion for Severance, [Docket No. 615]).

         As articulated above, there is a strong preference in the federal system for joint trials. In

light of that preference, and at this early juncture, where Defendant can only invite the court to

speculate as to what evidence the Government might actually seek to introduce at a joint trial,

severance is not, at this time, appropriate. “Severance is a remedy that can be provided at the

time of trial if appropriate under the circumstances.” United State v. Billups, No. 06-cr-129

(PJS/AJB), F. Supp. 2d 697, 706 (D. Minn. 2006).

         For all the reasons articulated above, the Court recommends DENYING Defendant’s

Motion for Severance, [Docket No. 615], without prejudice.

   IV.      CONCLUSION

         Based on the foregoing and all the files, records, and proceedings herein, IT IS

HEREBY RECOMMENDED:

   1. That Defendant’s Motion to Suppress Contents of Intercepted Wire or Oral

         Communications Derived Therefrom, [Docket No. 510], be DENIED, as set forth above;

         and,

   2. That Defendant’s Motion for Severance, [Docket No. 516], be DENIED, as set forth

         above.


Dated: November 19, 2015                                       s/Leo I. Brisbois
                                                               Leo I. Brisbois
                                                               U.S. MAGISTRATE JUDGE

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                                         NOTICE

Filing Objections: This Report and Recommendation is not an order or judgment of the District
Court and is therefore not appealable directly to the Eighth Circuit Court of Appeals.

Under Local Rule 72.2(b)(1), “A party may file and serve specific written objections to a
magistrate judge’s proposed findings and recommendation within 14 days after being served
with a copy of the recommended disposition[.]” A party may respond to those objections within
14 days after being served a copy of the objections. LR 72.2(b)(2). All objections and responses
must comply with the word or line limits set forth in LR 72.2(c).

Under Advisement Date: This Report and Recommendation will be considered under
advisement 14 days from the date of its filing. If timely objections are filed, this Report and
Recommendation will be considered under advisement from the earlier of: (1) 14 days after the
objections are filed; or (2) from the date a timely response is filed.




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